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                                          June 16, 2025


VIA ECF
The Honorable Lewis J. Liman
Danial Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re: Lively v. Wayfarer Studios LLC, et al., Case No. 1:24-cv-10049-LJL;
           Unopposed Motion to Redact and Seal Personal Information


Dear Judge Liman,

        We represent Defendants Jed Wallace and Street Relations, Inc. Under Local Rule 7.1(e)
and the Court’s Individual Practices in Civil Cases 1.C, we write to request the Court allow to keep
under seal one exhibit to Ms. Lively’s Response (Dkt. 300) and Lively to file a minimally redacted
copy of Exhibit B (Dkt. 301-2). The exhibit contains Mr. Wallace’s cell phone number, which is
the only information Wallace and Street propose be redacted. A copy of the proposed redaction is
attached. This letter motion is unopposed. See Liman Individual Practices 1.C ¶3.

         Federal district courts throughout New York have granted such requests to seal and redact
a personal cell phone number as personal identifying information. E.g., In re Keurig Green Mt.
Single-Serve Coffee Antitrust Litig., No. 14-MC-2542 (VSB), 2023 WL 196134, at *12 (S.D.N.Y.
Jan. 17, 2023) (granting request to “redact personal information . . . such as personal cell phone
numbers”); In re Zyprexa Products Liab. Litig., No. MDL1596JBWASC, 2005 WL 2237789, at *2
(E.D.N.Y. Mar. 2, 2005) (granting request that party may “redact confidential personal contact
information such as home telephone numbers and addresses, pager and personal cell phone
numbers,”). Otherwise, the documents should be made available to the public, even though the
exhibit is to a case management matter, rather than anything adjudicating a substantive right. Cf.
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 121 (2d Cir. 2006) (“Where documents are
used to determine litigants’ substantive legal rights, a strong presumption of access attaches.”).
Nothing turns on the precise order of digits in Mr. Wallace’s phone number. Mr. Wallace just wants
to go back to his life in rural Texas without being personally harassed, which he fears would be
the case should his personal cell phone number be disclosed.

        Accordingly, we respectfully ask the Court grant this unopposed letter motion to seal and
redact Mr. Wallace’s personal cell phone number in Lively’s Response (Dkt. 300) and Lively to
file a minimally redacted copy of Exhibit B (Dkt. 301-2).




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        We thank the Court for its attention to this matter.

                                                      Respectfully submitted,

                                                       S/ Joel R. Glover
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cc: all counsel of record (via ECF)
